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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________   District
 Southern District     of __________
                   of Florida

 Case number (If known): _________________________ Chapter 15                                                                                 Check if this is an
                                                                                                                                                  amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                                12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            PJSC Bank Finance and Credit
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                       Federal Employer Identification Number (EIN)      ___ ___ – ___ ___ ___ ___ ___ ___ ___

                                                  ✔
                                                             098078576
                                                        Other ___________________________.                     Ukraine State Register
                                                                                           Describe identifier _____________________________.
                                                              10741450000025974                                          Unified State Register of Legal Entities,
                                           For individual debtors:                                                       Individual Entrepreneurs and Public
                                                                                                                         Associations of Ukraine
                                                       Social Security number:    xxx – xx– ____ ____ ____ ____

                                                       Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                       Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Svitlana Vasylivna Groshova
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which
     appointment of the foreign             Public joint stock company Bank Finance and Credit pending before the Deposit Guarantee
                                           ____________________________________________________________________________________________                       Fund
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           ✔
                                                 Foreign main proceeding
                                                 Foreign nonmain proceeding
                                                 Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               ✔
                                                 A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                   appointing the foreign representative is attached.

                                                 A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                                  proceeding and of the appointment of the foreign representative, is attached.

                                                 Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                                  representative is described below, and relevant documentation, translated into English, is attached.
                                                  _______________________________________________________________________________________
                                                  _______________________________________________________________________________________


7.   Is this the only foreign                    No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                   debtor is pending.)
     the debtor known to the               ✔
     foreign representative(s)?
                                                 Yes




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Debtor          PJSC   Bank Finance and Credit
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                        Ukraine
                                        ______________________________________________                   60 Sichovykh Streltsiv Street
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Artema, Kyiv                       04050
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region  ZIP/Postal Code


                                                                                                         Ukraine
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 48 Degtyarevskaya Street
                                                                                                         _______________________________________________
                                         Number     Street                                               Number     Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 Kyiv, EDRPOU                           09807856
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:
                                         ✔
                                               Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




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Debtor        PJSC   Bank Finance and Credit
              _______________________________________________________                        Case number (if known)_____________________________________
              Name




12.   Why is venue proper in this      Check one:
      district?                        ✔
                                            Debtor’s principal place of business or principal assets in the United States are in this district.
                                            Debtor does not have a place of business or assets in the United States, but the following
                                             action or proceeding in a federal or state court is pending against the debtor in this district:
                                             ___________________________________________________________________________.

                                            If neither box is checked, venue is consistent with the interests of justice and the convenience
                                             of the parties, having regard to the relief sought by the foreign representative, because:
                                             ___________________________________________________________________________.



13.   Signature of foreign
      representative(s)                I request relief in accordance with chapter 15 of title 11, United States Code.

                                       I am the foreign representative of a debtor in a foreign proceeding, the debtor is eligible for the
                                       relief sought in this petition, and I am authorized to file this petition.

                                       I have examined the information in this petition and have a reasonable belief that the
                                       information is true and correct.

                                       I declare under penalty of perjury that the foregoing is true and correct,


                                       8    ________________________________________________          Svitlana Vasylivna Groshova
                                                                                                      _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         __________________
                                                            MM / DD / YYYY



                                       8    ________________________________________________          _______________________________________________
                                           Signature of foreign representative                        Printed name


                                       Executed on         __________________
                                                            MM / DD / YYYY




14.   Signature of attorney
                                       8 /s/ Leyza F. Blanco
                                            _________________________________________________ Date                  11/06/2020
                                                                                                                   _________________
                                            Signature of Attorney for foreign representative                       MM   / DD / YYYY


                                           Leyza  F. Blanco, Esq.
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Sequor  Law
                                           _________________________________________________________________________________________________
                                           Firm name
                                           1111  Brickell Avenue, Suite 1250
                                           _________________________________________________________________________________________________
                                           Number         Street
                                           Miami
                                           ____________________________________________________ FL          33131
                                                                                                 __________________________________________
                                           City                                                            State         ZIP Code


                                           (305) 372-8282
                                           ____________________________________                            lblanco@sequorlaw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address




                                           104639                                                 FL
                                           ______________________________________________________ ____________
                                           Bar number                                                      State




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